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                                                             U.S. DEPARTMENT OF JUSTICE

                                                             United States Attorney
                                                             Eastern District of Missouri

Derek J. Wiseman                                                Thomas F. Eagleton U.S. Courthouse   Direct: (314) 539-7616
Assistant United States Attorney                                111 South 10th Street, Rm. 20.333    Office: (314) 539-2200
                                                                St. Louis, Missouri 63102              Fax: (314) 539-2312


                                                               February 4, 2025

Scott Roethle
7819 W. 158th Court
Overland Park, Kansas 66223
Email: stroethle@gmail.com

           Re:        United States v. Scott Roethle, 4:21-cr-00465-CDP, Expert Disclosures

Dear Mr. Roethle:

        The Government discloses the following summary pursuant to Federal Rule of Criminal
Procedure 16(a)(1)(G). The information provided below serves as the Government’s notice of its
intent to introduce expert testimony from the following individuals: (1) Drew Haskins; (2) Johanna
L. Sullivan, Pharm. D.; and (3) Special Agent Mitchell Blum.

           1.         Drew Haskins

         The Government intends to call as a witness during its case-in-chief Drew Haskins,
Program Integrity Supervisor at CoventBridge Group, which holds the Unified Program Integrity
Contractor (UPIC) Midwest contract that was awarded by the Centers for Medicare & Medicaid
Services (CMS) in 2016. A copy of Mr. Haskins’ Curriculum Vitae is attached to this letter. Also
attached to this letter is a list of other cases in which, during the previous 4 years, Mr. Haskins has
testified as an expert at trial. Mr. Haskins prepared this list and advised the Government that he
used his best efforts to include all testimony that he could recall. Mr. Haskins further advised the
Government that, during the previous 4 years, he has not testified as an expert by deposition, and
that, in the previous 10 years, he has not authored any publications.

        It is anticipated that Mr. Haskins will testify that he is currently employed as the Program
Integrity Supervisor at CoventBridge Group. It is further anticipated that Mr. Haskins’ testimony
will include a description of his training, experience, and qualifications as they pertain to his
familiarity with health care coverage under Medicare, specifically Medicare Part B, and to his
familiarity with the Anti-Kickback statute.

        As it relates to Medicare Part B, it is anticipated that Mr. Haskins will testify regarding the
background of Medicare Part B, including funding and terminology of the program and
participation in the program. It is further anticipated that Mr. Haskins will testify regarding the
administration of Medicare Part B, as well as coverage under Medicare Part B for durable medical
equipment (DME) prescriptions for Medicare beneficiaries, including the medical necessity
requirements for such coverage. It is also anticipated that Mr. Haskins will testify that Medicare
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Part B will deny claims for DME prescriptions where there was no medical necessity determination
conducted by a licensed physician for such prescriptions.

       As it relates to the Anti-Kickback statute, it is anticipated that Mr. Haskins will testify
regarding the applicability of that statute to claims submitted to Medicare Part B, and whether
Medicare Part B covers claims, including claims based on DME prescriptions, that were procured
through kickbacks. It is further anticipated that Mr. Haskins will testify that Medicare Part B will
deny claims for DME prescriptions which were the result of Anti-Kickback statute violations.

        Mr. Haskins’ anticipated testimony will be based on his individualized training and
experience, including his training and experience as an employee at CoventBridge Group, as well
as his familiarity with Medicare Part B rules, protocols, and procedures.

        SIGNATURE: ______________________

        2.      Johanna L. Sullivan, Pharm. D.

         The Government intends to call as a witness during its case-in-chief Johanna L. Sullivan,
Pharm. D., Director of Clinical Operations – Investigations Medicare Drug Integrity Contract (I-
MEDIC) at Qlarant. A copy of Ms. Sullivan’s Curriculum Vitae is attached to this letter and
includes a list of all publications that she has authored in the previous 10 years. Also attached to
this letter is a list of other cases in which, during the previous 4 years, Ms. Sullivan has testified
as an expert at trial. Ms. Sullivan prepared this list and advised the Government that she used her
best efforts to include all testimony that she could recall. Ms. Sullivan further advised the
Government that, during the previous 4 years, she has not testified as an expert by deposition.

        It is anticipated that Ms. Sullivan will testify that she has a Doctor of Pharmacy degree
from the University of Florida College of Pharmacy and that she is currently employed as the
Director of Clinical Operations – Investigations Medicare Drug Integrity Contract (I-MEDIC) at
Qlarant. It is further anticipated that Ms. Sullivan’s testimony will include a description of her
education, training, experience, and qualifications as they pertain to her familiarity with health
care coverage under Medicare, specifically Medicare Part C and Medicare Part D, and to her
familiarity with the Anti-Kickback statute.

          As it relates to Medicare Part C, it is anticipated that Ms. Sullivan will testify regarding the
background of Medicare Part C, including funding and terminology of the program and
participation in the program. It is further anticipated that Ms. Sullivan will testify regarding the
administration of Medicare Part C through Medicare Advantage programs, as well as coverage
under those programs for genetic tests for Medicare Advantage beneficiaries. It is also anticipated
that Ms. Sullivan will testify that Medicare Advantage programs would deny claims for genetic
tests if they knew that they were not ordered by qualified health professionals based on the genuine
medical need of beneficiaries.
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        As it relates to Medicare Part D, it is anticipated that Ms. Sullivan will testify regarding the
background of Medicare Part D, including funding and terminology of the program and
participation in the program. It is further anticipated that Ms. Sullivan will testify regarding the
administration of Medicare Part D through private plan sponsors, as well as coverage under
Medicare Part D for topical cream prescriptions for Medicare beneficiaries. It is also anticipated
that Ms. Sullivan will testify that Medicare Part D sponsors will deny claims for prescriptions if
they knew that they were not ordered by qualified health professionals based on the genuine
medical need of beneficiaries.

        As it relates to the Anti-Kickback statute, it is anticipated that Ms. Sullivan will testify
regarding the applicability of that statute to claims submitted to Medicare Advantage programs
and Medicare Part D, and whether Medicare Advantage programs and Medicare Part D cover
claims, including claims based on genetic tests and topical cream prescriptions, that were procured
through kickbacks. It is further anticipated that Ms. Sullivan will testify that Medicare Advantage
Programs and Medicare Part D will deny claims for prescriptions if they knew that they were the
result of Anti-Kickback statute violations.

        Ms. Sullivan’s anticipated testimony will be based on her individualized education,
training, and experience, including her training and experience as an employee at Qlarant, as well
as her familiarity with Medicare Part C and Medicare Part D rules, protocols, and procedures.

       SIGNATURE: ______________________

       3. Special Agent Mitchell Blum

        The Government intends to call as a witness during its case-in-chief Special Agent Mitchell
Blum, U.S. Department of Health and Human Services – Office of Inspector General. A copy of
Special Agent Blum’s Curriculum Vitae is attached to this letter. Special Agent Blum advised the
Government that, during the previous 4 years, he has not testified as an expert at trial or by
deposition. Special Agent Blum further advised the Government that, in the previous 10 years, he
has not authored any publications.

        It is anticipated that Special Agent Blum will testify that he is currently employed as a
Special Agent at the U.S. Department of Health and Human Services – Office of Inspector General.
It is further anticipated that Special Agent Blum’s testimony will include a description of his
education, training, experience, and qualifications as they pertain to his familiarity with the
operations, methods, patterns, and practices of medical clinics, physicians, and DME suppliers
with respect to orders for, the provision of, and billing Medicare for DME, cancer screening tests,
and topical cream prescriptions in a legitimate setting, as well as the operations, methods, patterns,
and practices of medical clinics, physicians, and DME suppliers involved in fraudulent schemes
relating to the same.

      It is anticipated that Special Agent Blum will testify regarding the process by which a
Medicare beneficiary is prescribed DME (specifically orthotic braces) in a legitimate setting,
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including examinations by the beneficiary’s primary care physician over time, the primary care
physician’s determination of medical necessity for the DME prescription, and the progression of
the beneficiary’s treatment toward the DME prescription. It is also anticipated that Special Agent
Blum will testify regarding the process by which a Medicare beneficiary obtains DME (specifically
orthotic braces) in a legitimate setting, including the beneficiary’s selection of a DME supplier and
visit to that supplier, the DME supplier’s role in choosing the DME for the beneficiary, the DME
supplier’s obligations with respect to maintaining documentation in its files, and the DME
supplier’s submission of billings to Medicare after the supplier’s receipt of the prescription and
supporting medical documentation and the supplier’s completion of delivery of the DME to the
beneficiary. It is further anticipated that Special Agent Blum will testify regarding the
characteristics of legitimate DME suppliers, including having large numbers of referring
physicians, billing multiple types of health insurance (including Medicare), maintaining multiple
types and large quantities of DME in inventory, and selling multiple types and comparable
quantities of DME (not exclusively orthotic braces).

        It is anticipated that Special Agent Blum will testify regarding the solicitation of Medicare
beneficiaries by telemarketers who recruit the beneficiaries on behalf of fraudulent telehealth
medical clinics (as opposed to the beneficiaries’ primary care physicians), including the
recruitment techniques used, the geographic areas of recruitment, the types of beneficiaries who
are targeted and the reasons why such beneficiaries are targeted, the types of information obtained
from the beneficiaries by the telemarketers, and the telemarketers’ receipt of kickbacks for such
marketing activities. It is also anticipated that Special Agent Blum will testify regarding the
operation of fraudulent telehealth medical clinics, including the use of the recruited beneficiaries’
Medicare information, the recruitment, employment, and compensation of physicians, the
physicians’ contact (minimal to often times none) with the recruited beneficiaries to determine
medical necessity for DME (specifically orthotic braces), the physicians rapid issuance of
medically unnecessary DME prescriptions for the recruited beneficiaries, and the payment of
kickbacks to the telemarketers for recruiting the beneficiaries. It is further anticipated that Special
Agent Blum will testify regarding the characteristics of patient files at fraudulent telehealth
medical clinics, including narrow width (because there is no progressive treatment toward
prescription for DME), the lack of diagnoses justifying or false diagnoses for the purpose of
justifying medical necessity for DME, and the frequency of DME (specifically orthotic braces)
prescriptions (one or more for nearly every patient). Finally, it is anticipated that Special Agent
Blum will testify regarding the operation and characteristics of fraudulent DME suppliers,
including the relatively low number of referring physicians, the volume of referrals from the same
referring physicians, the volume of claims to Medicare compared to other health insurance, the
emphasis on orthotic braces with respect to the types and quantities of DME in inventory and the
types and quantities of DME sold, the low volume of customer foot traffic because the recruited
beneficiaries do not visit the suppliers, the submission of billings to Medicare before the suppliers
delivery of the DME to the beneficiaries, and the lack of all required documentation in the
suppliers’ files.
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        Special Agent Blum’s anticipated testimony will be based on his individualized education,
training, and experience, including his training and experience as a Special Agent at the U.S.
Department of Health and Human Services – Office of Inspector General.

       SIGNATURE: ______________________

       In addition to providing notice of the Government’s intent to call expert witnesses, please
allow this letter to serve as another request, pursuant to Federal Rule of Criminal Procedure
16(b)(1)(C), for:

       A written summary of any testimony that the defendant intends to use under Federal
       Rule of Evidence 702, 703, or 705 during the defendant’s case-in-chief at trial.

       This summary must describe the witness’s opinions, the bases and reasons for those
       opinions, the witness’s qualifications, including a list of all publications authored
       in the previous 10 years, and a list of all other cases in which, during the previous
       four years, the witness has testified as an expert at trial or by deposition.

        Please note that this serves only as a preliminary expert witness disclosure. The United
States reserves the right to amend or make additions to this expert disclosure. If the United States
chooses to make amendments or additions to this expert disclosure, it will notify you well in
advance of trial.

       If you need any further information or clarification regarding the above matter, please do
not hesitate to call me. Thank you for your cooperation.


                                                     Sincerely,

                                                     SAYLER A. FLEMING
                                                     United States Attorney




                                                     DEREK J. WISEMAN
                                                     Assistant United States Attorney
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                                          1352 Wentworth Dr, Gallatin, TN 37066 615.416.0077 drew.haskins2013@gmail.com



Drew Haskins
     Objective Perform in a constructive environment at a high work rate, making every opportunity to serve
                    our customers, employers, and employees, and to seek continuous improvement utilizing the
                    most out of every resource available while efficiently maintaining current performance
                    metrics.

 Professional Program Integrity Supervisor
   Highlights    ▪ Managing and assigning the workload of Program Integrity Analysts (I, II, and IIIs)
                        ▪    Assign action items and monitor the workload to ensure timeliness metrics on all
                             assigned workload investigations
                        ▪    Cultivate a team environment that facilitates workload knowledge
                        ▪    Maintain active communication with management on all active investigations
                        ▪    Provide updates to the UPICs workload in relation to MACs within our jurisdiction.
                        ▪    Run data analytics to identify new and trending fraud schemes and providers.

                    Program Integrity Analyst II
                       ▪ Primary workload: investigating Medicare and Medicaid providers for alleged fraudulent
                          activity
                       ▪ Maintain timeliness metrics on all assigned workload investigations
                       ▪ Cultivate a team environment that facilitates workload knowledge
                       ▪ Maintain active communication with supervisor on all active investigations
                       ▪ Organize and characterize investigations as reported to CMS, OIG, and Medicare
                          and Medicaid contractors.
                       ▪ Run data analytics to identify fraud schemes and claims selection for medical
                          review.
                       ▪ Maintain dual accuracy in both UPICMW and CMS systems.
                       ▪ Interview beneficiaries and Medicare/Medicaid providers to identify potential fraud.
                       ▪ Travel to ascertain information regarding to alleged fraudulent activity.

                    Senior Claims Research Analyst (Medical Review Probe Audit Team Lead)
                       ▪ Primary workload: leading, training, and organizing audit coordinator team on Medicare
                           medical review and education.
                       ▪ Create and maintain work instructions and job aids.
                       ▪ Involved in Continuous Improvement including coordinating with impacted other
                           areas of business
                       ▪ Reviewed prepayment claim decisions including providing results for Award Fee
                           accuracy
                       ▪ Training new Project Assistants and Senior Project Assistants, including assistant
                           work with Claims department. I also participate in the interviewing process including
                           giving my decision for new hires and internal hires. Provide feedback on team
                           member performance and workload capacity for employment.
                       ▪ Testing, developing, and implementation of changes to applications and stored
                           processes.
                       ▪ Coordinating workload for JB and JC contracts for MR Coordinators, temporary
                           hires, and assisting personal, including providing feedback and if necessary, rework
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                                      1352 Wentworth Dr, Gallatin, TN 37066 615.416.0077 drew.haskins2013@gmail.com



Drew Haskins
                       requirements with references to work instructions. This also includes balancing
                       budget requirements for time spent by workload and by contract.
                  ▪    Liaison role with suppliers, CGS activities, and with other contractors and
                       contracted employees with CGS.
                  ▪    Monthly and weekly reporting to CMS and other outside contractors (RAC, UPIC)
                       including for QASP and SSAE audits.
                  ▪    Coordinating MR activity with active UPIC investigations.
                  ▪    Involved with implementations for MR updates including LEAN, TPE, PATSY,
                       OPTIC, and Widespread Postpay.
                  ▪    Lead training and meetings for Medical Review updates and quarterly analysis of
                       current TPE activity.

              Senior Project Assistant (Medical Review Senior Audit Coordinator)
                 ▪ Primary workload: leading and training team in coordinating Medicare medical review
                     audits as identified from data analysis or referral with the intent of supplier education.
                 ▪ Create and maintain work instructions and job aids.
                 ▪ Reviewed prepayment and postpayment claim decisions including providing results for
                     Award Fee accuracy
                 ▪ Involved in implementation process for ELMS, overpayment referrals, Jurisdiction
                     B, LEAN, and The Probe and Educate Pilot Program for both Jurisdiction B and C
                     (see CR10073 for JB and Draft CR 10249 for JC).
                 ▪ Testing, developing, and implementation of changes to applications and stored
                     processes.
                 ▪ Creating a team environment and delegating workload to other Project Assistants.
                 ▪ Coordinate changes implemented with the PCA Clinician Leads and partnering
                     departments.
                 ▪ Training new Project Assistants

              Project Assistant (Medical Review Probe Audit Coordinator)
                 ▪ Primary workload: coordinating Medicare medical review audits as identified from data
                     analysis or referral with the intent of supplier education.
                 ▪ Reduced workload for numerous reports by maximizing currently available resources
                 ▪ Coordinated adjustments with Overpayment Recovery following Medical Review
                     postpayment decisions
                 ▪ Reviewed prepayment and postpayment claim decisions including providing results for
                     Award Fee accuracy
                 ▪ Reduced waste management by switching to paperless job functions using available
                     resources
                 ▪ Provided 100% quality work over a year and a half in adhering to customer guidelines on
                     timeliness, effectiveness, and accuracy.
                 ▪ Involved in testing, developing, and day to day for Microsoft, SAS, JMP, and SQL
                     programming.

              Appeals Analysts
                 ▪ Primary workload: reviewing medical records for first level Medicare appeals, including:
                    adjudication of claims and supplier education via written correspondence.
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                                            1352 Wentworth Dr, Gallatin, TN 37066 615.416.0077 drew.haskins2013@gmail.com



Drew Haskins
                        ▪    Maintained 100% production goals while reviewing records for multiple policies to
                             determine medical necessity and Medicare coverage criteria met.
                        ▪    Tester for RADAR letter writing program to ensure that efficiency and effectiveness was
                             maintained while increasing productivity.

                    Tier II Customer Service Specialist
                        ▪ Primary workload: customer service via telephone for Medicare accounts receivable and
                             accounts payable, including bankruptcy, voluntary refunds, withholdings, and offsets.
                        ▪ Worked for various contracts of Medicare (DME, Part A, Part B, Home Health and
                             Hospice)
                        ▪ Customer Service on Accounts Payable and Accounts Receivable for Medicare
                             providers, suppliers, and beneficiaries including researching claim decisions for
                             overpayments or offset of overpayment amounts.
                        ▪ Created, tested, and developed the DebitR application.
                        ▪ Delegated the entire workload to various departments including training each employee.

          Skills    ▪ SQL Programming                             ▪ Letter Writing
                    ▪ Training (classroom and mentor)             ▪ Record Keeping Management
                    ▪ Data Management Software                    ▪ Medicare/Healthcare Knowledge
                    ▪ Microsoft Applications                      ▪ Testing and developing
                    ▪ Customer Service                            ▪ Office Appliances
                    ▪ Case Audit Tracking Management              ▪ Onbase And Report Services Reporting
                    ▪ Delegating Workload                         ▪ Work Instruction and Job Aid

Specific Skills ▪ I have worked in reviewing, processing,         ▪ Starting as a Project assistant for Medical
       for this   and reporting Medicare processed                  Review to today I have been involved in
  application     claims from 2010 to current with a                implementations, testing, reporting, and training
                       specialty in DME, Medical Review, and        others for applications including UCM, NexGen,
                       FWA.                                         AdvanceTrack, VMS RUMBA, OnBase, ELMS,
                                                                    CATS, MICE, DebitR, SAS, and JMP and
                    ▪ Starting as a Senior Project Assistant to     Microsoft Updates.
                      today, I create, maintain, and train on
                      job aids and work instructions for          ▪ Starting with CGS, I have researched Claim
                      Medical Review.                               Decisions, Appeals Documentations, Accounts
                                                                    Receivable and Accounts Payable, and supplier
                                                                    billing data analysis for the supplier community,
                                                                    CMS, and outside contractors (RAC, UPIC,
                                                                    CERT) in collaboration with other departments.


  Employment Program Integrity
      History Supervisor                         CoventBridge Group, Grove City, OH               12/01/2023- Current

                    Program Integrity
                    Analyst II                   CoventBridge Group, Grove City, OH               09/01/2021- Current
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               Senior Claims                                                               01/15/2018-
               Research Analyst         CGS Administrators LLC, Nashville, TN               08/27/2021

               Senior Project
               Assistant for Claims                                                        07/18/2016-
               Medical Review           CGS Administrators LLC, Nashville, TN               01/14/2018

               Project Assistant for
               Claims Medical                                                             09/15/2014 –
               Review                   CGS Administrators LLC, Nashville, TN               07/17/2016
                                                                                          06/24/2013 –
               Appeals Analyst          CGS Administrators LLC, Nashville, TN               09/14/2014
               Tier II Call Customer                                                      03/05/2012 -
               Service Specialist       CGS Administrators LLC, Nashville, TN               06/24/2013
               Call Customer Service
               Representative                                                             01/25/2010 -
               Associate                CGS Administrators LLC, Nashville, TN              03/04/2012

   Education   Diploma                       Hendersonville High School,
                                                  Hendersonville, TN              Graduated 05/18/2007
               Former Student             Volunteer State Community College           08/2019-05/2020

  References   Julie Barnett - current program integrity deputy manager – 904.586.8282

               Pati Bocook – current project manager - 614.277.8451
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                         DREW HASKINS TESTIMONY LIST

1.   United States v. Jankowski, et al., Case No. 2:17-cr-20401 (E.D. Mich.)

2.   United States v. Aniemeka, et al., Case No. 1:17-cv-04011 (N.D. Ill.)
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                                   Johanna L. Sullivan, Pharm.D.


_____________________________________________________________________________________________

EDUCATION

August 1991-May 1995               Doctor of Pharmacy, with High Honors
                                   University of Florida College of Pharmacy
                                   Gainesville, Florida

June 1995-June 1996                Specialty Residency in Drug Information Practice
                                   Ambulatory Care Specialty Focus
                                   The University of Texas Health Science Center at San Antonio and
                                   The University of Texas at Austin College of Pharmacy
                                   San Antonio, Texas

1997                               Certification in Smoking Cessation
                                   University of Pittsburgh Smoking Cessation Program

LICENSURE

Registered Pharmacist in the states of Florida and Texas
Registered Consultant Pharmacist in Florida

PROFESSIONAL EXPERIENCE

In addition to the listed employments below, considerable experience over greater than 25 years as a pharmacist as
an independent consultant or contractor in a wide variety of pharmacy professional settings.

Director of Clinical Operations– Investigations Medicare Drug Integrity Contract
(I-MEDIC). Contract was originally part of the NBI MEDIC.
Qlarant – Baltimore, Maryland (Remote Employee)                                                   2019 – Current
             •   Key Personnel: Pharmacy Expert on Contract for CMS
             •   Head a team of 25 clinicians working on reviews of medical and drug claim data as well as
                 medical record reviews.
             •   Clinical Subject Matter Expert for Medications and Pharmacy for Medicare Part D and C data
                 projects and investigations
             •   Coordination of Pharmacist Review for Internal Investigations
             •   Coordination of Pharmacist Reviews for External Law Enforcement Requests
             •   Coordination of Medicare Part D medical record reviews for Medicare Adminstrative Actions
             •   Clinical and Subject Matter Expert for Legal Testimony in External Law Enforcement Requests
                 related to clinical subjects, Medicare Part D Policy, and payments.
             •   Training of new staff, contract, and law enforcement partners
             •   Extensive writing and communication of complex clinical materials. Serve as main editor for
                 clinical staff on clinical documents for CMS.
Major Projects:
             •   Creation of a automated work que for submission of review requests by investigators.
             •   Creation of an automated time tracker tool for clinical reviews.
             •   Creation and implementation of an automated invoice review tool to match drugs by NDC level
                 for loss calculations.
             •   Creation of a Medicare Part B invoice review for drug and injection codes to assist UPIC.
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             •   Implementation of a Level of Evidence Finding for Adminstrative Revocations for Abusive
                 Prescribing with CMS-PEOG.
             •   Implementaion of a pharmacist review template to improve efficiency of pharmacist reviews.
             •   Creation of benchmark data and analysis tools in coordination with analytics team to assist in
                 clinical reviews.
             •   Creation of a Medicare Part C data template to support efficiency in nursing reviews.
             •   Growth of clinical staff and team to 200% of levels at start of contract by documenting value and
                 need for increased staffing based on value in investigations and external partner support.


Senior Pharmacist/Pharmacist Lead – National Benefit Integrity Medicare Drug Integrity Contractor
(NBI MEDIC)
Qlarant (formerly Health Integrity) – Baltimore, Maryland (Remote Employee)                     2014 - 2018
             •    Clinical Subject Matter Expert for Medications and Pharmacy for Medicare Part D and C projects
                  and investigations
             •    Coordination of Pharmacist Review for Internal Investigations
             •    Coordination of Pharmacist Reviews for External Law Enforcement Requests
             •    Clinical and Subject Matter Expert for Legal Testimony in External Law Enforcement Requests
             •    Auditing of Medicare Part D Sponsors for Fraud, Waste, and Abuse Recoveries
             •    Training of new staff on pharmacist reviews
             •    Quality review and oversight of pharmacist reviews

Manager
Myers & Stauffers LLC – Baltimore, Maryland (Remote Employee)                                2013 - 2014
            •   Pharmacist Support of Medicare Part D Compliance Audit Programs
            •   Auditing of Medicare Contracts in Formulary and Coverage Determinations, Appeals, and
                Grievances
            •   Knowledge expert for pharmacist staff in Coverage Determinations, Appeals, and Grievances

Senior Consultant – Subcontractor to Myers & Stauffers LLC                                   2012 - 2013
IMS Health Government Services – Tampa, Florida (Remote Employee)
            •   Pharmacist Support of Medicare Part D Compliance Audit Programs
            •   Auditing of Medicare Contracts in Formulary and Coverage Determinations, Appeals, and
                Grievances
            •   Training of new pharmacist staff
            •   Knowledge expert for pharmacist staff in Coverage Determinations, Appeals, and Grievances

Clinical Services Manager/Clinical Account Manager                                                2010 - 2012
WellDyneRx – Lakeland, Florida
             •    Restructuring and management of Prior Authorization Department
             •    Implementation of computerized system for PA department
             •    Clinical guideline and drug use criteria development
             •    Clinical account manager responsibilities for all strategic accounts
             •    Clinical management and compliance for all Medicaid/Medicare accounts
             •    Ensure clinical and PA compliance with all state and federal regulations for commercial and
                  government payers
             •    Created opiate management program to facilitate narcotic dose reductions in inappropriately
                  treated patients
             •    Revision and evalution of all prospective DUR rules and edits
             •    Executive clinical management of Disease Management Programs
             •    Design and implementation of prescriber formulary intervention programs
             •    Clinical formulary analysis and quarterly reporting for strategic accounts
             •    Development of value-based formularies for clients
             •    Clinical and data analysis support for RFP responses
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             •    Created and implemented prescriber report cards
             •    Management of clinical staff in multiple sites and locations
             •    Formulary management and presentations to groups with closed formularies


Major Projects:
             •    Implemented computerized system for Prior Authorizations for multi-site locations
             •    Created opiate management program for clients.
                      o Outcomes: client acclaim, patients removed from narcotics, medical licensures under
                          investigation by appropriate authorities
             •    Key player in team responsible for acquiring the biggest managed care client in company history

Clinical Pharmacy Infusion Manager                                                             2008-2009
Healix Infusion Services- Tampa, Florida
             •   Selection and dosing of cost-effective and clinically effective medication regimens for patients
             •   Clinical monitoring and dose adjustment of medications
             •   Ordering and inventory of all medications and supplies
             •   Marketing of infusion services to health providers and systems
             •   Patient education and counseling
             •   Scheduling of patients
             •   Management of nursing infusion center staff
             •   Facilitating approval of medications for patients
             •   Responsible for USP 797 compliance for site

Major Projects:
             •    Opening of brand new licensed infusion pharmacy
             •    Creation of marketing programs/dinners for health providers and systems

Clinical Pharmacist                                                                          2005- 2008
Pharmacare/CVS Caremark - Bartow, Florida
Polk County Healthcare Program/Diabetes and Cardiovascular Clinic
            •   Development of outpatient clinical pharmacy clinic for Polk County Employer Client
            •   Creation of clinical program for diabetes, hypertension, and smoking cessation
            •   Monitoring, evaluation, and follow-up of patients in program
            •   Creation of computerized patient database for monitoring and outcomes
            •   Data review and statistical analysis of patient outcomes
            •   Presentation of clinical and data outcomes to client and PBM
            •   Presentation of clinical and data outcomes at AMCP meeting

Major Projects/Research:
            •   Development from “ground up” of clinic and programs
            •   Outcomes data analysis and presentations showing cost effectiveness of clinic
            •   Development of template program to CVS/Caremark for marketing to other clients

Lead Consultant Pharmacist/Consultant Pharmacist                                        2003-2006
PharMerica- Sarasota, Florida
            •   Member of Quality Assurance Committees at all assigned nursing homes
            •   Continuous Quality Improvement in Delivery of Services to Nursing Homes
            •   Implementing Cost Saving Protocols for Nursing Homes
            •   Patient-Specific Drug Regimen Review
            •   Consultant Pharmacist Staff Training, Education, and Management (Lead Consultant)
            •   Hiring and Evaluations of Consultant Pharmacist Staff (Lead Consultant)
            •   Clinical Account Management and Marketing to Health Coalitions Groups
            •   Medication-related Regulatory Compliance Oversight with Nursing Homes
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             •   Deployment of National Clinical, Educational and Formulary Initiatives
             •   Coordination of Formulary Initiatives with Pharmaceutical Partners
             •   Presentations to Nursing Home Staff (Education)
             •   Presentation to Nursing Home Management (Quarterly Reports)

Major Projects/Research:
            • Creation of New Consultant FTE Staffing Model for Pharmacy
            • Acetaminophen Toxicity Clinical Initiative
            • Pain Management Clinical Review
            • Transdermal Narcotic Patch Destruction Policy
            • Application of Type IIb pharmacy license for Transitional Living Facility (TLF)
Teaching:
            • Development of Regular In-services for Nursing Home Staff
            • Training and Development of Pharmacy Consultant Staff
            • QA Presentations Quarterly Per Nursing Home

Customer Service Pharmacist                                                   2002-2003
Merck-Medco Health Services – Tampa, Florida
           • Clinical Specialist for Drug Information Questions
           • Patient Counseling
           • Investigated grievances related to prescription errors

Director of Pharmacy                                                          2001-2002
Kindred Hospital-Bay Area Tampa
             • Secretary of Pharmacy, Nutrition, and Therapeutics Committee
             • Member of Adverse Drug Event Committee
             • Member of Critical Care Committee
             • Member of Infection Control Committee
             • Pharmacy Staff Scheduling (Pharmacists and Technicians)
             • Pharmacy Staff Training (Pharmacists and Technicians)
             • Hiring and Evaluations of Pharmacy Staff (Pharmacists and Technicians)
             • Formulary Development and Management
             • Clinical Pharmacy Program Development
             • Pharmacy Inventory Management
             • Installation and Maintenance of Sure-Med Dispensing Units
             • Development and Achievement of Pharmacy Budgets
             • Development and Lecturing for Pharmacy, Physician, and Nursing Inservices
             • Successful Pharmacy Performance in JCAHO and ACHA Surveys
             • Narcotics Management and Monitoring
             • Medication Use Processes QA/QI to Improve Administrative Processes
Major Projects/Research:
             • Approval and Installation of Sure-Med Dispensing System
             • Creation of Pharmacy Night Cabinet
             • Re-Implementation of Nursing Floor Stock
             • Re-Implementation of ICU Floor Stock
             • Reengineering of Outdated Pharmacy Charge System to Capture Lost Hospital Revenue
             • Automatic Interchange Protocols for Epogen/Aranesp, Primaxin/Merrem, and Levaquin/Cipro
             • Development and Implementation of Formulary and Non-Formulary Processes
             • Creation of Clinical Pharmacy Monitoring Protocols for Antibiotics and Epogen/Aranesp
             • Development of Herbal Medication Policy
             • Development of IV to PO Policy
             • Rewriting Policy and Procedure Manual
Teaching:
             • Development of Regular Inservices for Nursing, Pharmacy, and Physician Staff
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            • Training and Development of Pharmacy Staff (Pharmacists, Technicians)
            • Competency Assessments for Pharmacy Staff (Pharmacists, Technicians), Nursing Supervisors

Outcomes Research Manager                                                              1998- 2001
Global Health Outcomes Unit-North America Division
Pharmacia Corporation
             • Held Position of Cardiovascular Specialist within Global Health Outcomes Unit
             • Market Plans and Analysis for Product Teams (Liaison to Corvert and Fragmin Brand Teams)
             • Development of National Yearly Business Plan for GHO Support for Cardiovascular Products
             • Assignment of Cardiovascular Projects to other Research Managers for Implementation
             • Dissemination of Cardiovascular Study Results within Company and Unit
             • Project Manager for Phase IIIb and IV Health Economic and Outcomes Market Support Studies
             • Qualification of Investigators/Sites for Company Studies
             • Development, Design, and Tracking of Research Protocols
             • Consultant on Health Economic and Outcomes Literature for External Customers
             • Design and Development of Newsletters, Treatment Guidelines, and Algorithms
             • Design and Development of Health-System and MCO-Specific Research Projects
             • Market Plans and Analysis for Regional Sales Teams (Four States and National Accounts)
             • Market Plans and Analysis for Product Teams (Liaison to Corvert and Fragmin Brand Teams)
             • Development of National Yearly Business Plan for GHO Support for cardiovascular products
             • Pharmacoeconomic and Research Presentations to Internal and External Customers
Major Projects/Research:
             • Evaluation of the Effect of Overactive Bladder on Workplace Productivity
             • Economic Model for Impact of Overactive Bladder on Employer Groups
             • Evaluation and Implementation of a DVT Prophylaxis Guideline
             • Implementation and Evaluation of an Outpatient DVT Management Program to Decrease LOS in a
                 MCO
             • Creation of a Electronic Ophthalmology Patient Database for Retrospective Research Queries
             • Creation of a Computerized DUE for SNF Glaucoma Patients
             • Physician Survey on Factors Related to Hospital Discharge on Outpatient Antibiotics
             • Implementation and Evaluation of a Depression Treatment Guideline in a Physician Practice Group
             • Outcomes Assessment of LMWH Therapeutic Interchange in Multiple Community Hospitals
             • Medical and Pharmaceutical Claims Analysis of Glaucoma Patients in a Managed Care Plan
             • Compliance and Persistency Evaluation of Overactive Bladder Agents in a Managed Care Plan
             • Impact of Patient Adherence on Cost-effectiveness of Drug Therapy in Overactive Bladder
             • Practice Use of Pharmacoeconomics in Florida Managed Care Plans and Institutions
Teaching:
             • Preceptor for UF Pharmaceutical Administration Ph.D. student for industry research project.

Acting Chief/Assistant Chief                                                                 1996 - 1998
Drug Information and Pharmacoepidemiology Center
The University of Pittsburgh Medical Center and The University of Pittsburgh College of Pharmacy
             • Management of clinical pharmacist staff
             • Management of drug information pharmacy resident
             • Scheduling and coordination of projects and deadlines with clinical pharmacy staff
             • Adverse Drug Reaction Subcommittee Secretary
             • Drug Information Questions/Consults
             • Development of Drug Use and Disease State Management Protocols
             • Evidence-Based and Pharmacoeconomic Evaluations of Medications for Formulary Management
             • Medication Use Evaluations and Outcomes Evaluations for Formulary Management
             • Forecast Assessments for New Pharmaceuticals Impact on Hospital Budget
Major Projects/Research:
             • Development of a Pharmacy Department Webpage for Information Dissemination
             • Pharmacoeconomic Evaluation of Ganciclovir Intravitreal Implant
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            • Pharmacoeconomic Evaluation of Amphotericin B versus ABCD
            • Evaluation of CD-ROM Patient-Oriented Pharmaceutical Databases
Teaching:
            • Main Preceptor in Drug Information Clerkship Rotation for University of Pittsburgh Doctor of
               Pharmacy Program
            • Co-coordinator for Medication Information and Literature Evaluation class for University of
               Pittsburgh Bachelor of Science in Pharmacy Students
            • Course Instructor for Profession of Pharmacy 3 class for University of Pittsburgh Doctor of
               Pharmacy Students
            • Course Instructor in Contemporary Pharmacy Practice class for University of Pittsburgh Bachelor of
               Science in Pharmacy students
            • Journal Club Coordinator for University of Pittsburgh Residency Programs
            • Faculty Advisor for Pharmacy Policy Awareness Association for University of Pittsburgh School of
               Pharmacy
            • Faculty Advisor for Doctor of Pharmacy Student

GRANTS

   Unrestricted Grant, Hoechst Marion Roussel, 1996.
   Unrestricted Grant, Sequus Pharmaceuticals, 1997.

PUBLICATIONS AND POSTERS

   Odedina FT, Sullivan JL, Nash R, et al. Use of Pharmacoeconomic Data in Making Hospital Formulary
        Decisions. American Journal of Health-System Pharmacy. Vol. 59, Number 15, 2002:1441-1444.
   Yaldo A, Sullivan JL, and Li Zhiming.. Factors Affecting Physicians’ Decision Making to Discharge Patients
        From the Hospital Setting: A Case Study of Patients with Methicillin Resistanct Staphylococcus Aureus
        (MRSA) Infections. American Journal of Health-System Pharmacy. Vol. 58, Number 18, 2001:1756-1759.
   Yaldo A, Li J, Sullivan JL, and Mozzafarri E. Factors Affecting Physicians’ Decision Making to Discharge
        Patients From the Hospital Setting: A Case Study of Patients with Methicillin Resistant Staphylococcus
        Aureus (MRSA) Infections. Abstract and Poster Presentation at American Society of Health-System
        Pharmacists Annual Meeting, Philadelphia, Pennsylvania, June 2000 and Drug Information Association
        36th Annual Meeting, San Diego, CA, June 2000.
   Pankaskie M, Sullivan JL. Health Care Web Portals., Journal of the American Pharmaceutical Association,
        Vol. 40, Number 1, January-February 2000, pgs. 117-188.
   Margheim J, Stroup JW, Sullivan JL, and Vermeulen L. Evaluation of Deep-Vein Thrombosis Prophylaxis and
        Outcomes of Orthopedic Surgical Patients in a 300-Bed Acute Care Hospital, (P359E), American Society
        of Health-System Pharmacists Midyear Clinical Meeting, December 8, 1999.
   Choi JA, Sullivan JL, Pankaskie M, Brufsky J. Evaluation of Consumer Drug Information Databases., Journal
        of the American Pharmaceutical Association, Vol. 39, Number 5, September-October 1999, pgs. 683-687.
   Pankaskie M, Sullivan JL. On-Line Learning: Issues and Implications for Pharmacy Practice., Journal of the
        American Pharmaceutical Association, Vol. 38, Number 4, July-August 1998, pg. 508.
   Pankaskie M, Sullivan JL. On-Line Learning: Trends in Continuing Education, Journal of the American
        Pharmaceutical Association, Vol. 38, Number 3, May-June 1998, pg. 382.
   Pankaskie M, Sullivan JL. Medical Information on the Internet: Fool’s Gold or 24 Karat?, Journal of the
        American Pharmaceutical Association, Vol. 38, Number 2, March-April 1998, pg. 237.
   Pankaskie M, Sullivan JL. Computers Open New Worlds, Pose New Problems, Journal of the American
        Pharmaceutical Association, Vol. 38, Number 1, January-February 1998, pg. 101.
   Ansani N, Sullivan JL. Do Natural Products Guarantee Harmlessness? , CME in Clinical Practice, UPMC
        Physician, Vol. 6, Number 8, September 1997, pgs.15-18.
   Sullivan JL. Strategies for Evaluation of Current Therapeutic Controversies in the Face of Information
         Overload , Career Manager, APHA Publication for New Practitioners, On-line Publication, August 1997.
         (http://www.aphanet.org/APHA/main/quality/carman.html)
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PUBLICATIONS AND POSTERS (CONTINUED)

    Sullivan JL. Treating Systemic Fungal Infections with Amphotericin B Products , CME in Clinical Practice,
         UPMC Physician, Vol. 5, Number 11, November 1996, pgs.13-15.
    Sullivan JL, Knodel LC. Caffeine Toxicity: Is it Time to Switch to Decaffeinated?, Toxic Substance
         Mechanisms, Vol. 15, Number 2, April-June 1996, pgs. 145-147.
    Sullivan JL. Foscarnet, Nursing Newsletter, H. Lee Moffitt Cancer Center, June 1993.

SCIENTIFIC REVIEW/EDITOR

    Co-Editor, Pharmacoinformatics Column, Journal of the American Pharmaceutical Association. 1998-2001.
    Reviewer, Journal of the American Pharmaceutical Association 1997-2001.
    Editor, Current Therapeutic Issues, UTHSCSA Drug Information Newsletter, Vol. 10, Number 2, Fall 1995.

PUBLIC INTERVIEWS

    Stability and Proper Storage of Medications, tip sheet developed for UPMC News Bureau for Press Release,
        Pittsburgh, Pennsylvania, August 1, 1997.
    Ocular Side Effects of Drugs, telephone interview for HealthWise a consumer information
        magazine for Blue Cross/Blue Shield of Pennsylvania, Pittsburgh, Pennsylvania, April 2, 1997.
        DHEA and Melatonin, AgeWise Weekly , television program, WQEX 16, Pittsburgh, Pennsylvania, March
        19, 1997.
    Aspirin, Our Healthy Community , radio program, WCXJ 1550, Pittsburgh, Pennsylvania, February 7, 1997.


PRESENTATIONS

Invited

    Trends in Controlled Substances in Medicare Part.: June 5, 2024. Medicare Advantage Organizations (MAOs)
        and Prescription Drug Plans (PDPs) Fraud, Waste, and Abuse (FWA) Training.
    DEA Listening Sessions: Telemedicine Regulations on Prescribing Controlled Substances. September 12, 2023.
    Generic Cost Manipulation. (co-presented) Schemes for Health Care Fraud Investigators and Analysts Program.
        National Health Care Anti-Fruad Association (NHCAA). April 2022.
    I-MEDIC Invoice Reconciliation Training. (co-presented) Presented to Department of Justice and Office of the
        Inspector General staff nationally via Zoom, January 2022.
    Generic Cost Manipulation. National Health Care Anti-Fraud Association (NHCAA) Annual Training. Co-
        Presented Virtually. November 2021.
    Generic Cost Manipulation.Co-Presented at CMS-Center for Program Integrity Meeting. August 2021.
    I-MEDIC Overview. Presented Virtually to Federal Employee Program Special Investigations Unit Staff. April
        2021.
    Fraud Investigation Challenges During COVID-19.. Co-Presented at CMS-Center for Program Integrity
        Meeting to Medicare Part C and D Sponsors. July 2020.
    Department of Justice EDPA Training: Invoice Reviews. Presented Virtually May 2020.
    HHS/OIG/OI Part C and D Trainings: Invoice Reviews. Multiple sessions presented virtually to different
        geographic regions. May 2020.
    Telemarketing/Telemedicine Schemes. CMS-CPI Virtual Meeting. January 2020.
    Footbath Scheme: 2019 Medicare Advantage Organizations & Prescription Drug Plans Fraud, Waste, and
        Abuse Training. CMS-CPI. Miami, Florida. July 2019.
    Transmucosal Immediate Release Fentanyl (TIRF) Project and Investigations: 2019 Medicare Advantage
        Organizations & Prescription Drug Plans Fraud, Waste, and Abuse Training. CMS-CPI. Miami, Florida.
        July 2019.
    CMS Opioid Collaboration Missions: Tampa, Florida. April 2019.
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PRESENTATIONS (CONTINUED)

    Opioid Presentation. Medicare Parts C&D Fraud, Waste, and Abuse Collaboration Missions. Baltimore, MD.
         October 2018.
    NBI MEDIC Opioid Related Pharmacist Reviews. Presented on HHS-OIG community of practice call per
         invitation. October 2018.
    CMS Opioid Collaboration Missions: Miami, Florida. August 2018.
    Fraud in Compounding. Annual Training to State of Florida Pharmacy Inspectors. Orlando, Florida. May 2018.
    Prescriber Risk Score: Schedule II Controlled Substances, a breakout group discussion at CMS Fraud, Waste,
         and Abuse Meeting. Miami, Florida, September 2016.
    Controlled Substance Refills, a breakout group discussion at Centers for Medicare and Medicaid Services
         (CMS) Fraud, Waste, and Abuse Meeting. Baton Rogue, Louisiana, September 2014.
    Cost-Effective Medication Management in Medicare Populations, a presentation to Florida Healthcare
         Association, Miami Chapter. Miami, Florida, May 2004.
    Cost-Effective Medication Management in Medicare Populations, a presentation to Florida Healthcare
         Association, Sarasota Chapter. Sarasota, Florida, March, 2004.
    Outcomes Research Exchange: An Interactive Discussion of Challenges and Solutions, an ACPE presentation
         given at the Academy of Managed Care Pharmacy Annual Meeting. Phoenix, Arizona, April 6, 2000.
    Outcomes Research: A Pharmaceutical Industry Perspective, Department of Pharmacy Administration Seminar
         at the University of Florida College of Pharmacy. Gainesville, Florida, March 29, 2000.
    Outcomes Research Forum: A Proposal, given to the Pharmaceutical Industry Relations Committee (PIRC) of
         the Academy of Managed Care Pharmacy. Minneapolis, Minnesota, April 29, 1999.
    Age and Gender Specific Pharmacy: Incontinence, ACPE Presentation at the Florida Society of Health-System
         Pharmacists Annual Meeting in Orlando, Florida, August 20, 1999.
    Skills Enhancement Workshop: Technology for the Patient Care Pharmacist. Gave presentation on CD-ROM
         Databases at American Pharmaceutical Association Meeting in San Antonio, Texas, March 7, 1999.
    Health Economics and Outcomes Research, ACPE Presentation at Perspectives in Healthcare, a MedEcon
         Regional Meeting for Hospital Administrators and Pharmacists, Atlanta, GA, October 15, 1998.
    Herbal Information Resources, part of Herbal Science Symposium at the American Pharmaceutical Association
         Meeting in Miami, Florida, March 12, 1998.
    Documenting Your Teaching, part of Welcome and Orientation for Incoming Professors at the University of
         Pittsburgh. Given to University of Pittsburgh Faculty Hired in the Last Five Years, Pittsburgh,
         Pennsylvania, August 25, 1997.
    Pharmacologic Treatment of Nicotine Addiction, part of CE symposium Tobacco Use: Prevention & Cessation
         Strategies for Health Care Professionals for Pittsburgh Cancer Institute. Given to Dentists and Dental
         Hygienists, Pittsburgh, Pennsylvania, April 30, 1997.
    Pro-Active Career Planning for Junior Faculty, Junior Faculty at the University of Pittsburgh, Pittsburgh,
         Pennsylvania, January 27, 1997.
    Cost-effective Prescribing of Antibiotics, CME Presentation to Physicians in UPMC outreach hospital, PA,
         October 9, 1996.
    Physician s Online, Dolph Briscoe Medical Librarians, San Antonio, Texas, May 2, 1996.
    Drug Treatment of Parkinson's Disease, Parkinson's Disease Support Group, Gainesville, Florida,         June
         1995.
    Drug Treatment of Parkinson's Disease, Parkinson's Disease Support Group, Inverness, Florida, February 1995.
    Careers in the Health-Care Field, Junior High School Students, Jacksonville, Florida, January 1995.
    Drug Treatment of Parkinson's Disease, Parkinson's Disease Support Group, Ocala, Florida, August 1994.
    Butorphanol-Should It Be a Schedule Drug?, FPA House of Delegates, Naples, Florida, July 1994.
    Opportunities in Pharmacy, students at Hawthorne High School, Hawthorne, Florida, October, 1993.
Intramural
    Revocations Training. I-MEDIC Clinical Team. Presented via Zoom. August 2021.
    Invoice Review Process. I-MEDIC Annual Training. Presented via Zoom. June 2022.
    SME Open Forum/Panel. I-MEDIC Annual Training. Presented via Zoom. November 2021.
    Emerging Trends in Clinical Fraud Investigations. I-MEDIC Annual Training. Easton, Maryland. Noevember
         2019.
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PRESENTATIONS (CONTINUED)

  Investigators and Clinical Reviews. I-MEDIC Annual Training. Easton, Maryland. Novermber 2019.
  How to be a Witness. Co-presented with legal counsel. I-MEDIC Clinical Team. Presented via Zoom. August
       2021.
  Revocation Assessment for Clinical Staff. I-MEDIC Clinical Team. Presented via Zoom. February 2021.
  Collaboration and Challenges in the Time of COVID-19. Qlarant All Associates Meeting. Co-Presented
       Virtually with UPIC SW, UPIC W, and NBI MEDIC. May 2020.
  Poison Prevention Presentations. Dale Mabry Elementary School and Seaborn Day School. March-May 2009.
  Quality Assurance Quarterly Presentations: Various Nursing Homes, Florida. March 2003-July 2005.
  The Economic Impact of OAB, UroNet Program for Urologists from State of New York, Bal Harbour, Florida,
       March 5, 1999.
  Medical Economics and the Impact of Oaveractive Bladder: An Update, Pinnacle Program for Urologists for
       States of Florida and Alabama. Miami, Florida, August 14, 1999.
  Pharmacoeconomics, Pharmaceutical Outcomes Management Class for Doctor of Pharmacy Students at the
       University of Florida College of Pharmacy, Gainesville, FL, October 28, 1998.
  Tizanadine Review, UPMC Formulary Subcommittee, Pittsburgh, PA, August 26, 1997.
  Pharmacoeconomics, University of Pittsburgh Pharmacy Residents, Pittsburgh, PA, July 10, 1997.
  Donepezil Review, UPMC Pharmacy and Therapeutics Committee, Pittsburgh, PA, July 8, 1997.
  Literature Evaluation and Journal Club, University of Pittsburgh Pharmacy Residents,
       Pittsburgh, PA, July 1, 1997
  Donepezil Review, UPMC Formulary Subcommittee, Pittsburgh, PA, June 24, 1997.
  Computerized Pharmacy Resources, Introduction to Medical Informatics Class for the University of Pittsburgh
       School of Information Sciences, Pittsburgh, PA, June 13, 1997.
  Amphotericin B Lipid Products, UPMC Pharmacy and Therapeutics Committee, Pittsburgh, PA, May 13, 1997.
  Amphotericin B Lipid Products, UPMC Formulary Subcommittee, Pittsburgh, PA, April 22, 1997.
  Natural Products: Part 2, Contemporary Pharmacy Practice Class for Bachelor of Science in
       Pharmacy students, Pittsburgh, PA, March 28, 1997.
  Natural Products: Part 1, Contemporary Pharmacy Practice Class for Bachelor of Science in Pharmacy
       students, Pittsburgh, PA, March 26, 1997.
  Diabetes: Glucose Monitoring, Contemporary Pharmacy Practice Class for Bachelor of Science in Pharmacy
       students, Pittsburgh, PA, March 21, 1997.
  Use of TPA in Stroke, UPMC Pharmacy and Therapeutics Committee, Pittsburgh, PA, February 11, 1997.
  Ganciclovir Intravitreal Implant, UPMC Pharmacy and Therapeutics Committee, Pittsburgh, PA, November 12,
       1996.
  The Clinical Trial: Discussion, Bibliography, Application in Clinical Practice, with Gary Stoehr to Medication
       Information and Literature Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA,
       December 2, 1997.
  The Clinical Trial: Interpreting Graphs and Tables, with Gary Stoehr to Medication Information and Literature
       Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA, November 25, 1997.
  The Clinical Trial: Results, p-values, Type I and Type II errors, with Gary Stoehr to Medication Information
       and Literature Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA, November
       20, 1997.
  The Clinical Trial: Methods, Sampling, Sample Size, Randomization, Blinding, with Gary Stoehr to Medication
       Information and Literature Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA,
       November 18, 1997.
  The Clinical Trial: Methods, Study Design, Inclusion and Exclusion Criteria, Controls, Outcome Variables,
       with Gary Stoehr to Medication Information and Literature Evaluation Class for Bachelor of Science in
       Pharmacy Students, Pittsburgh, PA, November 13, 1997.
  The Clinical Trial: Title, Abstract, Introduction, The question , with Gary Stoehr to Medication Information and
       Literature Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA, November 11,
       1997.
  Meta-analysis/Review Articles, with Gary Stoehr to Medication Information and Literature
       Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA, November 6, 1997.
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PRESENTATIONS (CONTINUED)

  Descriptive Papers and Descriptive Statistics, with Gary Stoehr to Medication Information and Literature
       Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA, November 4, 1997.
  Variables/Types of Data, Descriptive Statistics, with Gary Stoehr to Medication Information and Literature
       Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA, October 30, 1997.
  Introduction to Drug Literature Evaluation/Categorizing Primary Literature, with Gary Stoehr to Medication
       Information and Literature Evaluation Class for Bachelor of Science in Pharmacy Students, Pittsburgh, PA,
       October 28, 1997.
  Maximizing the Utility of Information Provided by Pharmaceutical Manufacturers, Medication Information and
       Literature Evaluation Class for Bachelor of Science in Pharmacy students, Pittsburgh, PA, September 23,
       1997.
  Searching the Internet for Medical Information, Medication Information and Literature Evaluation Class for
       Bachelor of Science in Pharmacy students, Pittsburgh, PA, September 17, 1997.
  On-Line Drug Information Resources, Medication Information and Literature Evaluation Class for Bachelor of
       Science in Pharmacy students, Pittsburgh, PA, September 16, 1997.
  Evaluation of Information from Pharmaceutical Manufacturers, Biostatistics and Literature Evaluation Class
       for Doctor of Pharmacy students, San Antonio/Austin, TX, April 29, 1996.
  Meta-analysis: Powerful evaluative tool or meta-mess?, Biostatistics and Literature Evaluation Class for Doctor
       of Pharmacy students, San Antonio/Austin, TX, April 22, 1996.
  Toxicity of Nutraceuticals, South Texas Poison Center Specialists, San Antonio, TX, April 9 and 12, 1996.
  Peripheral Vasculature and Pulses Laboratory, Physical Assessment Laboratory Class for Doctor of Pharmacy
       students, Austin, TX, March 1, 1996.
  Postmenopausal Hormone Replacement Therapy and the Risk of Breast Cancer; Resident Rounds presentation
       to Pharmacy Faculty, San Antonio/Austin, TX, January 12, 1996.
  Drug Information Centers, South Texas Poison Center Specialists, San Antonio, TX, April 2, 1996.
  Adverse Drug Reaction Reporting, Pharm.D. students in Introduction to Drug Information Course, PHR 180T,
       The University of Texas at Austin College of Pharmacy, Austin/San Antonio, Texas, November 28, 1995.
  Asthma, Advanced Pharmacotherapy I Laboratory session with Pharm.D. students, The University of Texas at
       Austin College of Pharmacy, Austin, Texas, November 21, 1995.
  ASHP Midyear, Pharm.D. Students at The University of Texas at Austin College of Pharmacy, Austin/San
       Antonio, Texas, November 17, 1995.
  Formulary Inservice, Clinic Staff at The Community Clinic, Inc., San Antonio, Texas, October 25, 1995.
  Use of the "Morning-after" Pill in a Pediatric Emergency Room: Practical Guidelines, Hospital Staff at All
       Children's Hospital, St. Petersburg, Florida, April 1995.
  Hypertension Treatment in the Elderly, Pharmacy Staff at Driftwood Pharmacy Services, Lake Mary, Florida,
       March 1995.
  Therapeutic Advances in the Treatment of Depression, Pharmacy Staff at Florida Hospital, Orlando, Florida,
       March 1995.
  Poison Prevention, Kindergarten through Sixth Grade Students at Ochwilla Elementary, Ochwilla, Florida,
       January 1995.
  IV Magnesium in Acute Asthma, University Medical Center Pharmacy Staff, Jacksonville, Florida, January
       1995.
  Common Chemotherapeutic Regimens, Internal Medicine Team at V.A.M.C., Gainesville, Florida, November
       1994.
  Adverse Drug Reactions with Chemotherapy, Internal Medicine Team at V.A.M.C., Gainesville, Florida,
       November 1994.
  Famvir Drug Monograph, H. Lee Moffitt Cancer Center Clinical Pharmacists, Tampa, Florida, September
       1994.
  Treatment of Post-Herpetic Neuralgia, H. Lee Moffitt Cancer Center Clinical Pharmacists, Tampa, Florida,
       September 1994.
  Nitrate-Free Intervals, Outpatient Pharmacy Staff at Shands Hospital, Gainesville, Florida, August 1994.
  Antidiabetic and Antihyperlipidemic Agents, Cardiac Rehabilitation Patients at JFK Medical Center, Atlantis,
       Florida, July 1994.
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PRESENTATIONS (CONTINUED)

    Current Treatment Guidelines for Hypertension, Pharmacy Staff at JFK Medical Center, Atlantis, Florida, July
        1994.
    Gabapentin Monograph, H. Lee Moffitt Cancer Center Clinical Pharmacists, Tampa, Florida, June 1994.
    Butorphanol-Should it be a schedule drug?, H. Lee Moffitt Cancer Center Clinical Pharmacists, Tampa,
        Florida, June 1994.
    Drug Treatment of Parkinson's Disease, University of South Florida Family Practice Physicians and Medical
        Students, Tampa, Florida, May 1994.
    Ask First: Poison Prevention Presentation, kindergarten and first-grade students in elementary schools,
        Gainesville, Florida, April 1994.

TEACHING, MENTORING, AND ADVISING

             •   Faculty Advisor, WPPD (Working Professional Pharm.D. Program), University of Florida College of
                 Pharmacy, 2009.
             •   Clinical Affiliate Assistant Professor, Department of Health Care Administration at the University of
                 Florida College of Pharmacy, 2000 to present
             •   Faculty Advisor, UF College of Pharmacy Graduate Student, Department of Health Care
                 Administration at the University of Florida College of Pharmacy, 2000-2001.
             •   Adjunct Assistant Professor, Division of Economic, Social & Administrative Sciences, FAMU College
                 of Pharmacy & Pharmaceutical Sciences, 2000-2003
             •   National Lecturer, University of Pittsburgh Smoking Cessation Program, 1997-2001
             •   Assistant Professor, Department of Pharmacy Practice, College of Pharmacy at the University of
                 Pittsburgh, 1996-1997
             •   Clinical Instructor, Clinical Pharmacy Program, College of Pharmacy at the University of Texas Health
                 Science Center at San Antonio and the University of Texas at Austin, 1995-1996
             •   Organic Chemistry Laboratory Teaching Assistant, Department of Chemistry, University of Florida,
                 1991

PROFESSIONAL ORGANIZATIONS
National
    Academy of Managed Care Pharmacy
        Member of the Taskforce on Outcomes Research Forum
    American College of Clinical Pharmacy
    American Pharmaceutical Association
        Delegate for APPM at annual convention in Miami, FL, March 1998.
        Delegate for APPM at annual convention in Los Angeles, CA, March 1997.
    American Society of Health-System Pharmacists
    Consortium for the Advancement of Medication Information, Policy, and Research
    Kappa Epsilon
    Phi Lambda Sigma
        Delegate for University of Florida at annual convention in Dallas, TX, March 1993.
        Speaker of the House of Delegates in Orlando, Fl, March 1994.
    Rho Chi
        Delegate for University of Florida at annual convention in Seattle, WA, March 1994.

State and Local
    Alachua County Association of Pharmacists
    Florida Pharmacy Association
        Member of the Educational Committee 1999-2000
        Member of the Florida Foundation Board, 2000-2002
    Florida Society of Hospital Pharmacists
        Delegate for University of Florida at Annual Convention in Orlando, Fl
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COMMUNITY SERVICE
Troop Leader for Girl Scout Troop #640, 2010-2016
Children’s Family Resource Advisory Board, Central Tampa 2014-2021
    (Served as Vice-President and Treasurer of Board)
H.B. Plant High Danceros Team Communications Parent 2022-2023


REFERENCES
Available Upon Request
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                                        #: 1095



             JOHANNA L. SULLIVAN, PHARM. D., TESTIMONY LIST

1.   United States v. Mokbel, Case No. 4:21-cr-00103 (S.D. Tex.)

2.   United States v. Hamaed, et al., Case No. 2:20-cr-20162 (E.D. Mich.)

3.   United States v. Talbot, Case No. 2:21-cr-00111 (E.D. La.)

4.   United States v. Ghearing, Case No. 2:19-cr-00010 (M.D. Tenn.)

5.   United States v. Sachy, et al., Case No. 5:18-cr-00048 (M.D. Ga.)

6.   United States v. Valentino, et al., Case No. 2:20-cr-00309 (E.D. Pa.)

7.   United States v. Chun, et al., Case No. 8:20-cr-00120 (M.D. Fla.)

8.   United States v. Lucas, Case No. 2:21-cr-20199 (W.D. Tenn.)
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                                        Mitchell S.#:Blum,
                                                      1096 MS, CFE
                                500 E. Zack St. #215 * Tampa, Florida 33602
                                                813-440-7393
                                       Email: Mitchell.Blum@oig.hhs.gov

                                                  EDUCATION

M.S.                                University of Louisville, May 2016
                                    Master of Science in Criminal Justice

B.S.                                University of Louisville, December 2007
                                    Bachelor of Science in Justice Administration

H.S. Diploma                        Ballard High School, Louisville, KY, May 2003

                                        PROFESSIONAL EXPERIENCE

U.S. Department of Health and Human Services – Office of Inspector General – Tampa, FL
Special Agent (Series 1811/Grade GS-13, Step 6) – (Full Time 50+ hrs/week) (July 2018 – Present)
   • Experienced Special Agent leading multi-million-dollar criminal and civil investigations with
       nationwide implications related to crimes against the U.S. Department of Health and Human
       Services programs and operations.
   • Investigate complex fraud cases involving Medicare and Medicaid programs, including schemes
       perpetrated by external individuals and businesses, as well as fraud related to COVID-19.
   • Acting Operations Officer, Investigations Branch – (October 2024 - December 2024)
           o Served as a primary liaison with high-level Department of Justice officials to enhance
              collaboration, strengthen partnerships, and advance the agency's mission.
           o Oversaw and facilitated Medicare Part C investigations across all OIG components,
              ensuring effective oversight of program activities and vulnerabilities.
           o Led nationwide initiatives across multiple regions, providing regular progress updates to
              senior management.
           o Delivered impactful training and outreach presentations, including a session for
              approximately 100 physicians from a non-profit hospital corporation at the Philadelphia
              Regional Office’s request.
   • Acting Assistant Special Agent in Charge, Kansas City Regional Office – (February 2023 - April
       2023)
           o Supervised a team of seven Special Agents across a ten-state territory, ensuring effective
              communication and operational coordination.
           o Facilitated the flow of information from SAC/AIGI/DIG to the squad, aligning with
              agency directives and goals.
           o Evaluated incoming cases and complaints, assigning them to squad agents as appropriate.
           o Provided expert guidance and support to squad agents, enhancing case management and
              operational effectiveness.
           o Drafted and submitted a CIGIE award nomination for a squad agent, resulting in
              recognition as a national award winner.
   • Served as the primary relief supervisor for the Tampa Field Office (January 2023-June 2023)
   • Frequently serve as the Acting Assistant Special Agent in Charge during the Tampa ASAC's
       absence.
   • Certified Mentor and Field Training Agent for newly hired Special Agents, providing daily
       guidance and support to assigned mentees.
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   •   Represented HHS-OIG at the January 2024 MDFL          U.S. Attorney’s “Agency Head” meeting,
                                                         #: 1097
       where I presented agency priorities and facilitated inter-agency coordination and networking on
       high-profile case matters to elected officials, senior executives, and regional police chiefs.
   •   Chairs Tampa Inspector General’s Council and Tampa Health Care Fraud Working Group
       meetings in the absence of the regular chair.
   •   Delivered a Part C case study at the I-MEDIC 2024 national training conference in The Villages,
       Florida, at the request of senior I-MEDIC leadership.
   •   Participated as a panelist in a six-member discussion of senior government officials at the DOJ
       Criminal Division Health Care Fraud Unit’s 2024 national training conference in Bethesda,
       Maryland, focusing on best practices for nationwide case coordination.
   •   Coordinate criminal and civil investigations with external law enforcement partners, including the
       FBI, Defense Criminal Investigative Service (DCIS), U.S. Department of Veterans Affairs –
       Office of Inspector General (VA-OIG), U.S. Small Business Administration – Office of Inspector
       General (SBA-OIG), and the Internal Revenue Service – Criminal Investigations (IRS-CI).
   •   Conduct advanced data analytics to assess the viability and validity of investigations and
       complaints.
   •   Conduct witness, target, and confrontational interviews, followed by comprehensive written
       reports.
   •   Execute electronic and physical search warrants, make arrests, and perform other law enforcement
       duties in often hazardous and stressful situations.
   •   Digital Evidence Acquisition Specialist skilled in forensically imaging computers, external hard
       drives, memory devices, cellular phones, and other electronic media while ensuring chain of
       custody and record authentication.
   •   Lead Tech Agent in the Tampa Field Office, responsible for overseeing consensual monitoring,
       surveillance platforms, electronic recording devices, CALLYO recorded phone lines, live wires,
       and other sensitive law enforcement equipment.
   •   Provide protective services to the Secretary of the U.S. Department of Health and Human Services
       and other key department officials as needed.
   •   Testify in courtroom proceedings as needed.

Department of Justice - Office of the United States Attorney, Middle District of Florida - Jacksonville, FL
Investigator (Series 1810/Grade GS-12, Step 7) - (Full Time 40 hrs/week) (January 2016 – July 2018)
   • Plan and conduct multi-million-dollar criminal and civil fraud investigations independently or in collaboration
       with federal agents, focusing primarily on violations of the False Claims Act, Stark Law, and Anti-Kickback
       Statute.
   • Specialized in health care and procurement fraud targeting federal programs and agencies.
   • Review incoming referrals from law enforcement agencies, program integrity departments, and qui
       tam filings to assess the basis for federal prosecution.
   • Collaborate and communicate regularly with Assistant United States Attorneys to identify potential
       violations and causes of action.
   • Identify, locate, and interview witnesses, and conduct surveillance in collaboration with appropriate law
       enforcement agencies.
   • Examine, analyze, present, and secure critical evidence, including documents, emails, policies, text messages,
       payrolls, financial statements, billing statements, invoices, correspondence, computer data, and other essential
       records for prosecution.
   • Conduct complex data analysis to identify fraudulent or aberrant billing patterns.
   • Assist in preparing for litigation and trials.
   • Testify in court regarding investigations as needed.
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Humana - Jacksonville, FL                               #: 1098
SIU Investigator – (Full Time 40 hrs/week)                               (October 2015 – January 2016)
   • Manage a substantial caseload of complex healthcare fraud investigations, specializing in laboratories and
      referring physicians nationwide.
   • Provide expertise in each assigned line of business (Medicare, Medicaid, and Commercial)
   • Conduct complex data analysis using Microsoft Office Suite and internal data systems to identify aberrant
      billing and coding trends.
   • Conduct member and provider interviews as determined through investigative steps.
   • Prepare professional reports for law enforcement agencies and health insurance companies, detailing fraudulent
      activities for further investigation and prosecution.
   • Develop strategies for proactively detecting fraudulent activity.
   • Foster relationships within the healthcare program integrity community to enhance communication, share
      information, and identify trends across business segments or geographic areas.
   • Collaborate with and various investigative teams and researchers.
   • Testify in criminal and civil matters as required.


SafeGuard Services, LLC - Jacksonville, FL
Fraud Investigator/Mentor – (Full Time 40 hrs/week)                      (July 2014 – October 2015)
     Senior Investigative Member of the Zone Program Integrity Contractor (ZPIC) for Florida, Puerto Rico,
      and the Virgin Islands.
     Conduct in-depth fraud and compliance investigations on Part A and B providers, home health and hospice
      agencies, and durable medical equipment companies to safeguard Medicare and Medicaid trust funds.
     Prepare comprehensive reports with actionable recommendations for the Centers for Medicare and Medicaid
      Services (CMS) to address program vulnerabilities and enhance program safeguards against fraud.
     Assigned to the Medicare/Medicaid team, focusing on investigations posing risks to both federal and state
      programs.
     Perform complex data analysis using Microsoft Office Suite and Business Objects Platform to identify
      fraudulent trends and patterns for investigations.
     Conduct in-person interviews and on-site audits of medical agencies and professionals throughout
      Florida.
     Refer investigative findings to HHS-OIG and the FBI for prosecution.
     Review Suspicious Activity Reports (SARs) from SafeGuard Services Intelligence Analysts for potential
      healthcare fraud leads.
     Mentor and train newly hired staff on investigative methods, corporate procedures, and processes.

City of Frankfort Police Department - Frankfort, KY
Field Training Police Officer – (Full Time 40+ hrs/week)                   (March 2011 – June 2014)
    • Conduct citywide patrols, investigations, and enforcement functions for a community of nearly 28,000
        residents.
    • Attend court hearings, grand jury proceedings, and trials to provide testimony on behalf of the Commonwealth.
    • Served as a first-line supervisor while training, mentoring, and evaluating new recruits for the department.
    • Contracted to provide security at the Frankfort Regional Medical Center.
    • Member of the Mobile Field Force – Riot Control Unit


Kentucky Department of Corrections - Louisville, KY
Probation and Parole Officer – (Full Time 40 hrs/week)                 (September 2008 - March 2011)
   • Supervised a caseload of felony offenders for the Jefferson County Circuit Courts and Parole Board.
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   •   Conducted investigations and prepared case reports on individual offenders’ progress and new criminal activity.
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   •   Provided professional testimony in the Jefferson County District and Circuit Courts of Kentucky.

                                                   CERTIFICATIONS

Certified Kentucky Law Enforcement Officer                               (2011)

Certified Field Training Officer                                         (2013)

Investigative Skills for Patrol Certification                            (2013)

“Leadership is a Behavior” 40 Hour Development Course                    (2014)

Certified Florida Law Enforcement Officer                                (2014)

Certified Fraud Examiner (ACFE)                                          (2015)

FLETC Criminal Investigator Training Program Graduate – CITP             (2018)

Digital Evidence Acquisition Specialist (DEAS)                           (2021)

HHS Tampa Field Office Lead Tech Agent                                   (2021)

Certified Mentor/Training Agent for HHS-OIG                              (2023)

GrayKey Certified Operator                                               (2023)

NATIA Certified Technical Investigator (CTI)                             (2024)

FLETC Covert Electronic Surveillance Program (CESP)                      (2024)

Miami Region Leadership Development Program                              (2024)

                                                SPECIAL ACHIEVEMENTS

University of Louisville’s Deans List                                    (2007)

DOCJT Basic Academy Class Leadership - Adjutant                          (2011)

Kentucky Governor’s Award for Impaired Driving Enforcement               (2012)

Second Shift Officer of the Month (x4)                                   (2012-2014)

Interviewing & Kinesics Training Presentation                            (2014)

Published in Florida Bar Health Law Updates - Hospice Abuse              (2016)

Kenneth J. Marshall Award Nominee                                        (2016)

FLETC Driver’s Training Award                                            (2018)

Tampa IG Council Award – Case of the Year                                (2019)

DME/Telemedicine Fraud Training Presentation to OPM-OIG                  (2020)

Highest Evaluation Rating of “Outstanding”                               (2020 & 2021 & 2022 & 2023 & 2024)
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HHS IG’s Cooperative Achievement Award                         (2021)

Federal Bureau of Investigation’s (FBI) Director’s Award          (2021)

HHS-OIG Miami Regional Office Agent of the Year                   (2021)

DOJ Criminal Division HCFU Investigative Initiative Award         (2021)

USAO Outstanding Agent of the Year – Complex Economic Crimes      (2021 & 2022 & 2023)

Lead Case Agent Presented in HHS Semi-Annual Report to Congress   (2022)

Tampa IG Council Award – Health Care Fraud Investigation          (2022 & 2023)

Tampa IG Council Award – Complex Financial Investigation          (2022)

HHS IG’s Bronze Medal for Outstanding Employee of the Year        (2023)

DOJ Criminal Division HCFU Investigative Initiative Award         (2023)

USAO Outstanding Agent of the Year – Civil Fraud Investigations   (2024)

Tampa IG Council Award – Civil/ACE Investigation Achievement      (2024)

DOJ Criminal Division HCFU Investigative Initiative Award         (2024)

DOJ Criminal Division HCFU Leadership Award                       (2024)
